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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re                                                    Chapter 11

    STANADYNE LLC, et al.,1                                  Case No. 23-10207 (TMH)
                                                             (Jointly Administered)
                    Debtors.
                                                             Re: Docket Nos. 562, 604

    NOTICE OF FILING OF BLACKLINE OF COMBINED DISCLOSURE STATEMENT
            AND PLAN OF LIQUIDATION DATED SEPTEMBER 25, 2023

            PLEASE TAKE NOTICE that on September 8, 2023, the Official Committee of Unsecured

Creditors (the “Committee”) for the above-captioned debtors and debtors in possession filed the

Combined Disclosure Statement and Plan of Liquidation Dated September 8, 2023 [Docket

No. 562] (the “September 8 Plan”) with the United States Bankruptcy Court for the District of

Delaware (the “Court”).

            PLEASE TAKE FURTHER NOTICE that on September 25, 2023, the Committee filed

the Combined Disclosure Statement and Plan of Liquidation Dated September 25, 2023 [Docket

No. 604] (the “September 25 Plan”) with the Court.

            PLEASE TAKE FURTHER NOTICE that for the convenience of the Court and all parties

in interest, a blackline comparing the September 8 Plan to the September 25 Plan is attached hereto

as Exhibit 1.

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  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
Jacksonville, North Carolina 28546.



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Dated: September 25, 2023           MORRIS JAMES LLP

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                                    Unsecured Creditors




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